      CASE 0:16-cv-03610-DWF-LIB Document 50 Filed 02/21/18 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Aaron Wildenborg,                                         Civil No. 16-3610 (DWF/LIB)

                    Plaintiff,
                                                            ORDER FOR DISMISSAL
v.                                                              WITH PREJUDICE

Saint John’s University and the College of
Saint Benedict,

                    Defendants.


      Based upon the parties’ Stipulation for Dismissal With Prejudice filed on

February 20, 2018, (Doc. No. [48]),

      IT IS HEREBY ORDERED that Plaintiff’s claims and Complaint against

Defendants are DISMISSED WITH PREJUDICE, on the merits, and without costs,

disbursements or attorney fees to any party.

      LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: February 21, 2018          s/Donovan W. Frank
                                  DONOVAN W. FRANK
                                  United States District Judge
